Under the provisions of Act 205 of 1912 the police jury of Richland parish advertised for bids for the deposit of all funds under its control for the two years beginning July 1, 1926, and ending July 1, 1928. The plaintiff and defendant submitted bids. The bid of the defendant was accepted, and it was declared the fiscal agent of the parish of Richland. Plaintiff sued to rescind this award, alleging several grounds therefor, and prayed for an injunction prohibiting the police jury and the defendant from entering into a fiscal agency contract for the parish of Richland. A rule to show cause why a preliminary injunction should not be granted issued; the rule was tried; judgment was rendered thereon; and from the judgment the plaintiff appealed. Plaintiff now moves to dismiss its appeal, for *Page 277 
the reason that the term of the contract expired July 1, 1928, and therefore the court is powerless to grant appellant any relief. There is no answer to the appeal, and the facts alleged in the motion are sustained by the record.
It is therefore ordered that this appeal be dismissed, at appellant's cost.